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            EXHIBIT 7
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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

CITY OF BIRMINGHAM RETIREMENT                      )
AND RELIEF SYSTEM, et al.,                         )
                                                   )
                              Plaintiff,           )
                                                   )
               v.                                  ) Case No.: 1:17-cv-02400 10014-LGS
                                                   )
CREDIT SUISSE GROUP AG, et al.,                    ) CLASS ACTION
                                                   )
                              Defendants.          )
                                                   )

                 DECLARATION OF STEVEN B. SINGER IN FURTHER
             SUPPORT OF LEAD PLAINTIFFS’ MOTION FOR ATTORNEYS’
                   FEES AND LITIGATION EXPENSES, FILED ON
                        BEHALF OF SAXENA WHITE P.A.

       I, Steven B. Singer, declare as follows:

       1.      I am a Director of the law firm of Saxena White P.A. (“Saxena White”), Court-

appointed Co-Lead Counsel in the above-captioned class action (the “Action”).1 I submit this

Declaration in support of Lead Plaintiffs’ motion for an award of attorneys’ fees in connection

with services rendered in the Action, as well as for payment of Litigation Expenses incurred by

my firm in connection with the Action. I have knowledge of the matters set forth herein based

on personal knowledge, my review of the firm’s records, and consultation with other firm

personnel.

       2.       My firm, as Co-Lead Counsel and counsel for Lead Plaintiffs City of

Birmingham Retirement and Relief System, Westchester Putnam Counties Heavy & Highway

Laborers’ Local 60 Benefit Funds, and Teamsters Local 456 Pension and Annuity Funds



1
  Unless otherwise defined in this Declaration, all capitalized terms have the meanings set out in
the Stipulation and Agreement of Settlement dated July 8, 2020 (ECF No. 133).
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(collectively, “Lead Plaintiffs”), was involved in all aspects of the prosecution and resolution of

the Action, as set forth in the Declaration in Support of Lead Plaintiffs’ Motion for Final

Approval of Class Action Settlement and Plan of Allocation and Lead Plaintiffs’ Motion for an

Award of Attorneys’ Fees and Reimbursement of Litigation Expenses.

          3.    The information in this Declaration regarding the firm’s time, including in the

schedule attached hereto as Exhibit 1, was prepared from daily time records regularly prepared

and maintained by my firm in the ordinary course of business. I am the director who oversaw

my firm’s activities in the litigation, and I, together with attorneys working under my direction,

reviewed my firm’s daily time records to confirm their accuracy. Time expended in preparing

the application for fees and expenses has not been included in this report, and time for

timekeepers who had worked less than 10 hours on the matter was also removed from the time

report.

          4.    I believe that the time reflected in the firm’s lodestar calculation is reasonable in

amount and was necessary for the effective and efficient prosecution and resolution of this nearly

three-year litigation. The total number of hours expended on this Action by my firm’s attorneys

and professional support staff employees from its inception through July 10, 2020 was 7,177.4.

The total resulting lodestar for my firm is $3,433,603.50. The schedule attached hereto as

Exhibit 1 is a detailed summary reflecting the amount of time spent by each attorney and

professional support staff employee of my firm who was involved in the Action, and the lodestar

calculation based on my firm’s current hourly rates.

          5.    The hourly rates shown in Exhibit 1 attached hereto are the current rates set by the

firm for each individual. For personnel who are no longer employed by my firm, the lodestar

calculation is based upon the hourly rates of such personnel in his or her final year of



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employment by my firm. The hourly rates are comparable to the rates submitted by my firm and

accepted by courts for lodestar cross-checks in other securities class action litigation fee

applications within this Circuit and nationwide. See, e.g. In re HD Supply Holdings, Inc.

Securities Litigation, No. 1:17-CV-02587-ELR, ECF No. 102 at 4 (N.D. Ga. July 21, 2020);

Milbeck v. TrueCar, et al., No. 2:18-cv-02612-SVW-AGR, ECF No. 181-3 at pp. 6-8 (C.D. Cal.

Dec. 23, 2019); In re Wells Fargo & Co. Shareholder Derivative Litig., No. 3:16-cv-05541-JST,

ECF No. 278-8 at pp. 7-8 (N.D. Cal. Jun. 27, 2019); In re Rayonier Inc. Sec. Litig., Case No. 3-

14-cv-1395-TJC-JBT (M.D. Fla.) (ECF No. 164-9).

       6.      My firm’s lodestar figures are based upon the firm’s hourly rates, which do not

include expense items.     Expense items are recorded separately, and these amounts are not

duplicated in my firm’s hourly rates.

       7.      My firm has incurred a total of $279,915.69 in unreimbursed expenses in

connection with the prosecution of this Action from its inception through July 10, 2020, which

are detailed in Exhibit 2 to this Declaration. The expenses incurred in this Action are reflected in

the books and records of Saxena White, which are regularly prepared and maintained in the

ordinary course of business. These records are prepared from expense vouchers, check records

and other source materials and are an accurate record of the expenses incurred.

       8.      With respect to the standing of my firm, attached hereto as Exhibit 3 is a brief

biography of my firm and its current attorneys.

       I declare under penalty of perjury that the foregoing is true and correct. Executed this 5th

day of November, 2020.

                                          /s/ Steven B. Singer
                                               Steven B. Singer




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                                  EXHIBIT 1

           City of Birmingham Retirement and Relief System, et al., v.
                         Credit Suisse Group AG, et al.
                         Case No. 1:17-cv-10014-LGS

                        SAXENA WHITE TIME REPORT

                         Inception through July 10, 2020

        NAME               HOURLY RATE           HOURS           LODESTAR
Shareholders
Joseph E. White, III                 $895.00          51.50              $46,092.50

Directors
Steven B. Singer                     $895.00         244.50          $218,827.50
Lester R. Hooker                     $800.00         237.50          $190,000.00

Attorneys
Kyla J. Grant                        $625.00         458.50          $286,562.50
Scott Guarcello                      $625.00         676.25          $422,656.25
Adam D. Warden                       $600.00         355.25          $213,150.00
Kenneth M. Rehns                     $600.00          78.00           $46,800.00
Dianne Pitre                         $550.00         251.50          $138,325.00
Jill M. Schorr-Miller                $525.00         242.00          $127,050.00
Manuel A. Miranda                    $450.00          38.00           $17,100.00

Staff Attorneys
Christine Sciarrino                  $420.00          25.50           $10,710.00
Nicholas Atkinson                    $420.00       1,633.50          $686,070.00
Rebecca Nilsen                       $420.00          57.00           $23,940.00
Michele Fassberg                     $365.00          68.25           $24,911.25
Ryan Joseph                          $365.00          55.75           $20,348.75
Tara Heydt                           $365.00          52.50           $19,162.50

Discovery Attorneys
Andrew Greenidge                     $365.00       1,395.00          $509,175.00
Jennifer Tucek                       $365.00         982.15          $358,484.75
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Sherry Woodbine                  $365.00          22.25          $8,121.25

Financial Analyst
Marc D. Grobler                  $295.00          59.00         $17,405.00

Support Staff
Stefanie Grzandziel              $275.00          29.25          $8,043.75
Charlene Wallace                 $250.00          29.75          $7,437.50
Fabricia Resende                 $250.00          95.00         $23,750.00
Jessica Velez                    $240.00          39.50          $9,480.00

 TOTAL LODESTAR                               7,177.40       $3,433,603.50




                                    2
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                                     EXHIBIT 2

             City of Birmingham Retirement and Relief System, et al., v.
                           Credit Suisse Group AG, et al.
                           Case No. 1:17-cv-10014-LGS

                     SAXENA WHITE EXPENSE REPORT

                          Inception through July 10, 2020

              CATEGORY                                    AMOUNT
 Discovery Costs                                           $66,078.42
 Experts                                                  $134,662.15
 Filing Fees                                                $1,311.12
 Investigating Expense                                     $15,800.00
 Mediator                                                   $8,030.00
 Online Legal and Factual Research*                         $6,741.71
 Outside Counsel Expense                                   $35,243.80
 Out-of-Town Travel and Meals                               $8,776.49
 Postage and Delivery                                        $319.11
 Printing and Photocopy                                     $2,131.33
 Processing Services                                         $225.00
 Telephone, Conference Call                                  $596.56

 TOTAL EXPENSES:                                          $279,915.69

* The charges reflected for on-line research are for out-of-pocket payments to the
vendors for research done in connection with this litigation. Online research is billed
to each case based on actual time usage at a set charge by the vendor. There are no
administrative charges included in these figures.




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                             EXHIBIT 3

      City of Birmingham Retirement and Relief System, et al., v.
                    Credit Suisse Group AG, et al.
                    Case No. 1:17-cv-10014-LGS

                          FIRM RESUME




                                  4
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                   “A highly experienced
                      group of lawyers
   with national reputations in large securities class actions...”
               - Hon. Alan Gold, U.S. District Court, Southern District of Florida




                             FIRM RESUME
             FLORIDA I NEW YORK I CALIFORNIA I DELAWARE
                                 www.saxenawhite.com
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 SAXENA WHITE


Saxena White P.A. was founded in 2006 by Maya Saxena and Joseph White. After spending many years at
one of the country’s largest class action law firms, we wanted to do business a different way. Our goal in
forming the Firm was to become big enough to handle prominent and complex litigation while remaining
small enough to offer each client responsive, ethical, and personalized service.

Today our Firm’s capabilities rival those of our largest competitors. We obtain victories against major
corporations represented by the nation’s top defense firms. We represent some of the largest pension
funds in major securities fraud cases and have recovered over $2 billion on behalf of injured investors. We
have succeeded in improving how corporations do business by requiring the implementation of significant
corporate governance reforms. We have formed long-lasting relationships with our clients who know we
are only a phone call away. However, the most important attribute of the Firm, and the key to its continued
success, is the people. Saxena White was built upon the quality, integrity, and camaraderie, of its people —
attributes that continue to be its greatest legacy.


What Makes us Different?

             I We are proud to be the only certified woman- and minority-owned firm in the
                securities litigation business representing institutional investors and have an
                ongoing commitment to diversity.


             I We take a selective approach to litigation, recommending only a few fraud
                cases per year and litigating them aggressively.


             I The securities fraud cases in which we have served as lead counsel are rarely
                dismissed due to our careful selection criteria.


             I We offer tailored portfolio monitoring services to our clients that reflect
                their individual philosophies toward litigation.


             I We emphasize community outreach and welcome opportunities to support
                our clients in their communities.




                                                                                                           1
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 RECENT RECOVERIES


I In re Wells Fargo & Company Shareholder Derivative Litigation
Saxena White served as co-Lead Counsel in this landmark case alleging that the Board and executive
management of Wells Fargo knew or consciously disregarded that Wells Fargo employees were illicitly
creating millions of deposit and credit card accounts for their customers, without those customers’ consent,
in an attempt to drive up “cross selling,” i.e., selling complementary Wells Fargo banking products to
prospective or existing customers.

Over significant competition from the top law firms in our industry, the Court selected Saxena White as one
of the two firms most qualified in the nation to lead this high-profile case, noting the superior quality of the
work performed. Through this shareholder derivative action, Saxena White held Defendants accountable for
a scandal that has significantly damaged one of America’s largest financial institutions.

On April 7, 2020, the Northern District of California approved a $320 million settlement on behalf of nominal
Defendant Wells Fargo & Company with the Company’s officers, directors, and senior management. The
Settlement includes a $240 million cash payment from Defendants’ insurers—representing the largest
insurance-funded monetary component of any shareholder derivative settlement by over $100 million.

Saxena White zealously advocated for the interests of the Company and obtained excellent results. In
sum, after a thorough investigation of the relevant claims; the filing of a detailed complaint; success in
defeating two motions to dismiss; active intervention in, stays of, and dismissals of multiple state court
actions; consolidation and coordination with related federal actions; extensive review of over 3.5 million
pages of documents from Defendants, Wells Fargo, and numerous third parties; consultation with experts;
and research and preparation for depositions, the $320 million settlement was reached in this derivative
action.

In approving the historic Settlement, the Court remarked that “this represents an excellent result for the
shareholders” of Wells Fargo. The Court went on to praise “the risk” that Saxena White “took in litigation on
a contingency basis – a risk they have borne for more than three years.”


I In re Wilmington Trust Securities Litigation
Saxena White served as co-Lead Counsel in a class action against Wilmington Trust, its senior executives,
board of directors, outside auditor, and the underwriters of one of its secondary offerings. Following the
appointment of the Coral Springs Police Pension Fund, St. Petersburg Firefighters’ Retirement System,
Pompano Beach General Employees Retirement System as co-Lead Plaintiffs and Saxena White as co-
Lead Counsel, Lead Plaintiffs conducted a comprehensive and wide-ranging investigation, culminating
in an amended complaint that detailed how Defendants violated the Securities Exchange Act of 1934 by
concealing the drastic deterioration of Wilmington Trust’s loan portfolio and improperly accounting for the
value of its loans under Generally Accepted Accounting Principles. In particular, Defendants understated
Wilmington Trust’s provision for loan losses as its loan portfolio declined in quality, improperly delayed
recognition of losses on the portfolio, and inflated its financial results by misstating the fair value of its
loan portfolio. Defendants’ misconduct served to artificially inflate the price of Wilmington Trust securities
during the Class Period. Lead Plaintiffs further alleged that Defendants violated the Securities Act of 1933
by issuing untrue statements in connection with the Company’s February 23, 2010 public equity offering, by
understating Wilmington Trust’s provision for loan losses.



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After prevailing over thousands of pages of briefing on Defendants’ multiple motions to dismiss, Lead
Plaintiffs sought to be appointed as class representatives and certify a class of damaged investors. After
extensive briefing and discovery, the Court certified a class on September 3, 2015. In certifying the class,
Saxena White also secured important new precedent for aggrieved shareholders nationwide who have fallen
victim to securities fraud. The Court’s opinion rejected Defendants’ argument that the Supreme Court’s
opinion in Comcast Corp. v. Behrend, 569 U.S. 27 (2013) requires plaintiffs to submit a damages methodology
and model at the class certification stage. Having defeated an argument that securities fraud defendants
are increasingly relying upon to avoid responsibility for their illegal actions, Saxena White’s efforts have
again provided investors with a powerful weapon with which to combat corporate wrongdoing at the class
certification stage. Indeed, in addition to certifying the class, the Court applauded Saxena White’s “excellent
lawyers” and noted that Ms. Saxena’s “argument was very well argued.”

Having certified a class, Saxena White and Lead Plaintiffs embarked on a monumental discovery effort to
marshal the highly complex and technical evidence required to establish Defendants’ fraud. As part of this
massive undertaking, we closely reviewed and analyzed nearly 13 million pages of documents. Our efforts
required us to not only take on a veritable who’s who of highly skilled defense counsel, but also multiple
branches of the U.S. Government. After two years of hard-fought motion practice, we successfully compelled
the Federal Reserve and the Office of the Comptroller of the Currency to waive the bank examination
privilege for over 35,000 documents that those regulators had withheld. Compelling the production of
such documents is a rare feat and was the culmination of a multi-year effort to relentlessly fight for the
information and facts that were relevant to the prosecution of the case. We also prevailed over the U.S.
Attorney’s Office, successfully moving to lift the discovery stay imposed at its request. As a result, we were
able to depose key fact witnesses. In all, we deposed 39 witnesses in seven states, which generated nearly
11,000 pages of testimony and almost 900 exhibits.

After nearly eight years of hard-fought litigation, we negotiated an outstanding $210 million recovery on
behalf of the Class. This remarkable settlement represents a recovery of nearly 40% of the Class’s maximum
likely recoverable damages, which is eight times greater than the 5% median recovery in the Third Circuit.
The recovery also ranks among the top ten securities fraud settlements in the Third Circuit, and is in the top
5% of all securities fraud settlements since the PSLRA was enacted in 1995. On November 19, 2018, the Court
approved the settlement in its entirety. Notably, the Court twice observed that Saxena White achieved the
recovery independently of the Government’s criminal investigation. The Court was also complimentary of
the “legal prowess” exhibited by Saxena White’s “highly experienced attorneys.”


I Milbeck v. TrueCar, et al.
Saxena White served as Lead Counsel in a class action against TrueCar, Inc. that alleged that the company and
its senior executives misled investors about TrueCar’s relationship with its most significant business partner,
United States Automobile Association (USAA). TrueCar’s SEC filings disclosed that USAA’s marketing of
TrueCar’s services on USAA’s website alone generated approximately one third of TrueCar’s annual revenue
and warned that if USAA made even a minor change to its marketing of TrueCar on USAA’s website, TrueCar’s
business could be harmed. The complaint alleged that, prior to the start of the Class Period, USAA informed
TrueCar that it intended to substantially modify its website, including by reducing the prominence of its
marketing of TrueCar’s services. Thus, defendants knew that the risk TrueCar had warned investors about
had, in fact, materialized, but failed to disclose this material information. The complaint also alleged that
TrueCar’s CFO and other insiders engaged in insider trading while in possession of material non-public
information regarding the impending USAA website changes. When the truth that TrueCar’s earnings were



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severely negatively impacted as a result of USAA’s website redesign was finally revealed, the company’s
stock price declined significantly, causing investors substantial losses.

Saxena White engaged in extensive litigation efforts on an exceptionally expedited case schedule, including
defeating Defendants’ motion to dismiss, reviewing over 200,000 documents produced by defendants
and obtaining class certification. Thereafter, the parties participated in negotiations through which Plaintiff
ultimately obtained a $28.25 million cash settlement on behalf of the Clas


I John Cumming v. Wesley R. Edens, et al. (New Senior Investment Group)
Described as a “landmark” settlement by Law360, in 2019 the Delaware Court of Chancery approved a
$53 million settlement in a shareholder derivative action against real estate investment trust New Senior
Investment Group. The suit targeted New Senior’s $640 million acquisition of a portfolio of senior living
properties owned by an affiliate of its investment manager, which, according to Plaintiff’s experts, damaged
New Senior by over $100 million. The settlement is the largest derivative action settlement as a percentage
of market capitalization to date in Delaware and is one of the top ten derivative action settlements in the
history of the Court of Chancery.

 The Plaintiff’s extensive discovery efforts in the case included the review of more than 800,000 pages of
documents, 16 depositions, and the filing of six motions to compel. Following fact discovery, the parties
exchanged ten expert reports related to the damages from the real estate portfolio purchase and from a
related secondary stock offering. After a mediation and extensive follow-up negotiations, the parties agreed
to settle the litigation in exchange for the payment of $53 million in cash to New Senior. The settlement also
included valuable corporate governance reforms, including the board’s agreement to approve and submit
to New Senior’s stockholders for adoption at the annual meeting amendments to New Senior’s bylaws and
certificate of incorporation which would (a) provide that directors be elected by a majority of the votes
cast in any uncontested election of directors, and (b) eliminate New Senior’s staggered board, so that all
directors are elected on an annual basis.

In his remarks at the final settlement hearing, Vice-Chancellor Joseph R. Slights called the settlement
“impressive” and further described counsel’s efforts as “hard fought, but fought in the right way to reach a
productive result.”


I In re Rayonier Inc. Securities Litigation
Saxena White served as co-Lead Counsel in a class action against Rayonier that accused the company and
its senior executives of misleading investors about its timber inventory and harvesting rates in the Pacific
Northwest. When the company’s new management ultimately disclosed that Rayonier had overharvested
its premium Pacific Northwest timberlands by over 40% each year for over a decade and overstated its
merchantable timber by 20% in this critical region, the company’s stock price declined significantly, causing
investors substantial losses.

After litigating this case for nearly three years and defeating Defendants’ motion to dismiss, Plaintiffs
ultimately negotiated a $73 million cash settlement on behalf of the Class, the second largest recovery from
a securities class action achieved in the Middle District of Florida. The $73 million settlement is nearly nine
times the national median settlement and nearly ten times greater than the median recovery in the Eleventh
Circuit. As noted by Judge Timothy J. Corrigan, M.D. Fla., this was an “exceptional result[] achieved for the
benefit of the Settlement Class.”



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I W
   estchester Putnam Counties Heavy & Highway Laborers Local 60 Benefit Funds v.
  Brixmor Property Group, Inc. et al.
Saxena White filed an original action in the United States District Court for the Southern District of New
York against Brixmor and certain of its senior executives for securities fraud on May 31, 2016. Following
the appointment of the Westchester Putnam Counties Heavy & Highway Laborers Local 60 Benefit Funds,
Teamsters Local 456 Annuity Fund, and City of Birmingham Retirement and Relief System as Lead Plaintiffs
and Saxena White as Lead Counsel, Lead Plaintiffs filed a comprehensive amended complaint alleging that
throughout the Class Period, Defendants purposefully falsified Brixmor’s income items for over two years in
order to portray consistent quarterly same property NOI growth; the Company lacked adequate internal and
financial controls; and as a result, Defendants’ Class Period statements about Brixmor’s business, operations,
and prospects were false and misleading.

After extensive litigation efforts and negotiation, Lead Plaintiffs obtained a $28 million settlement. The
Settlement is an exceptional recovery for the Class, representing a significant percentage of the Class’s
maximum estimated aggregate damages that was multiples ahead of the typical recovery in securities
class actions. After a fairness hearing to evaluate the merits of the settlement, on December 13, 2017, the
Honorable Analisa Torres issued an order granting the final approval of the Settlement as fair, adequate, and
reasonable. Saxena White is pleased to achieve such a favorable settlement for shareholders.


I In re Jefferies Group, Inc. Shareholders Litigation
Saxena White served as co-Lead Counsel in a class action involving breach of fiduciary duty claims against
the board of directors of Jefferies Group, Inc., in connection with that company’s merger with Leucadia
National Corporation. In 2012, Jefferies entered into a merger agreement with Leucadia, a holding company
which owned 28% of Jefferies and whose founders served on Jefferies’ board. Leucadia’s founders had a
longstanding personal and professional relationship with Jefferies CEO, Richard Handler, which included
lucrative joint ventures, personal investment advice and support, numerous financing transactions, and off-
market stock purchases. As Leucadia’s founders neared retirement, Handler recognized an opportunity to
merge his company with Leucadia and serve as CEO of the much larger, combined company. Negotiating
in secret for months before informing the independent board members, Handler and Leucadia’s founders
structured a deal that greatly benefitted Leucadia, to the detriment of Jefferies shareholders.

After aggressively litigating this case for almost two years and defeating Defendants’ motion to dismiss and
motion for summary judgment, Plaintiffs ultimately negotiated a settlement which required Leucadia to pay
$70 million to class members, an outstanding result for former Jefferies shareholders.


I C
   ity Pension Fund for Firefighters and Police Officers in the City of Miami Beach v. Aracruz
   Celulose S.A., et al.
One of our Firm’s areas of expertise is litigating cases against foreign corporations. We recently obtained a
significant victory against a Brazilian corporation, Aracruz Celulose. Accomplishing what no other law firm
has ever done, Saxena White successfully served process on all three individual executives under the Inter-
American Convention on Letters Rogatory. Our efforts included working closely with a Brazilian law firm to
defeat Defendants’ challenges to service in both the Brazilian trial and appellate courts.

After defeating three motions to dismiss filed by the foreign Defendants, Saxena White began the massive
and highly technical discovery process. Because the vast majority of the documents were in Portuguese,
we hired native Brazilian attorneys to analyze and translate the tens of thousands of documents that were


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produced. These documents were also incredibly complex, dealing with five dozen separate financial derivative
instruments. Simply valuing one instrument required approximately 50,000 calculations. We consulted
closely with highly-respected industry and academic experts to gain an unprecedented understanding of
the workings of these instruments and how they were valued.

In the end, our hard work paid off. Saxena White successfully negotiated a $37.5 million settlement against
Aracruz and its executives. This represents up to 50% of maximum provable damages – an outstanding
result compared to the average national recovery of just 2.5% in cases of this magnitude.


I In re Bank of America Securities, Derivative and ERISA Litigation
This derivative case arose out of Bank of America’s acquisition of Merrill Lynch during the height of the
financial crisis in late 2008. After successfully defending the complaint’s core allegations against multiple
motions to dismiss, Saxena White embarked on an extensive discovery process that included 31 depositions
of senior BofA and Merrill executives and their attorneys, the review and analysis of 3 million pages of
documents from BofA, Merrill, and multiple third parties, and close consultation with nationally recognized
financial and economic experts.

On January 11, 2013, the Court approved the Settlement, which includes a $62.5 million cash component and
fundamental corporate governance reforms. The cash component alone ranks this Settlement among the top
ten derivative settlements approved by federal courts. The extensive corporate governance reforms include
the creation of a Board-level committee tasked with special oversight of mergers and acquisitions, which
is aimed at preventing the alleged deficiencies surrounding the Merrill Lynch acquisition. The corporate
governance reforms also include other components, including revisions to committee charters and director
education requirements, which caused one noted scholar to observe that BofA is now at the forefront of
corporate governance practices.


I In re Lehman Brothers Equity/Debt Securities Litigation
After conducting an extensive investigation into Lehman and its executives, Saxena White was the first firm
to file a complaint alleging violations of the federal securities laws. Subsequent events, including the largest
bankruptcy filing in U.S. history, interjected unique challenges to prosecuting this case – not the least of
which was that because Lehman itself was in bankruptcy, damaged shareholders could not recover damages
from it.

Despite these formidable obstacles, we continued to prosecute the case. Our efforts paid off. In the spring
of 2012, the Court approved a $90 million partial settlement with Lehman’s senior executives and directors,
and a $426 million settlement with several dozen underwriters of its securities. After nearly two more years
of hard-fought litigation, we reached a $99 million settlement with E&Y, Lehman’s outside auditor, which was
approved in the spring of 2014. The $99 million settlement ranks among the largest ever obtained from an
outside auditor and is an outstanding recovery for damaged shareholders.


I FindWhat Investor Group v. FindWhat.com
Saxena White also has significant appellate experience. In this Eleventh Circuit appeal, we won a precedent-
setting opinion with the court holding that corporations and their executives who make fraudulent
statements that prevent artificial inflation in a company’s stock price from dissipating are just as liable under
the securities laws as those whose fraudulent statements introduce artificial inflation into the stock price


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in the first place. The Eleventh Circuit rejected Defendants’ position that the mere repetition of lies already
transmitted to the market cannot damage investors. “We decline to erect a per se rule,” wrote the court,
that “once a market is already misinformed about a particular truth, corporations are free to knowingly and
intentionally reinforce material misconceptions by repeating falsehoods with impunity.”

The Eleventh Circuit’s opinion is a significant win for aggrieved investors. It is the first such ruling from any
of the Courts of Appeals in the nation, and will help defrauded investors seeking to recover damages due
to fraud.


I Central Laborers’ Pension Fund v. Sirva
Saxena White served as sole Lead Counsel in this case, which was litigated in the Northern District of Illinois
(SIRVA is the parent company of North American Van Lines). After two and a half years of hard-fought
litigation, an extensive investigation which involved conducting nearly 120 witness interviews, and the review
of approximately 2.7 million documents produced by Defendants, a two day mediation was conducted at
which we were able to reach a global $53.3 million settlement on behalf of the proposed shareholder class.
In addition, Saxena White conducted a comprehensive review of SIRVA’s corporate governance procedures
in an effort to ensure that securities fraud and accounting violations were less likely to occur at the Company
in the future. This careful and comprehensive review, which was spearheaded in conjunction with retained
corporate governance experts, confirmed that SIRVA had made great strides in improving its governance
standards over the course of our lawsuit. This was especially true in the area of its internal controls, which
was a primary concern. The company formally recognized, in writing, that the lawsuit was one of the main
reasons it reformed its governance standards, which confirmed that Saxena White was the key catalyst
compelling SIRVA to recognize the need to change the way it does business.

In addition, Saxena White was able to obtain even more governance improvements by convincing the Board
to discard their plurality (also known as “cumulative”) standard for the election of their directors in favor
of a modified majority standard (also known as the “Pfizer model”). This important change gives every
SIRVA shareholder a greater voice, as well as improving director accountability, by forcing directors who do
not receive a majority of the votes to tender their resignation for the Board’s consideration. Furthermore,
SIRVA also agreed to strengthen its requirements regarding director attendance at shareholder meetings,
which created more director accountability and increased shareholder input. Importantly, judges are unable
to order these types of governance changes – it was only the negotiation and litigation pressure that we
imposed upon the Company that allowed these changes to be implemented.


I In re Sadia S.A. Securities Litigation
Sadia was a Brazilian company specializing in poultry and frozen goods that exported a majority of its
products. Like Aracruz, it engaged in wildly speculative currency hedging while telling investors that its
hedges were conservative and used to protect against sudden changes in currency fluctuation. Plaintiffs filed
a securities fraud complaint against Sadia and its senior executives and board members alleging violations
of the federal securities laws. Because the individual Defendants in this case were also citizens of Brazil, they
had to be served pursuant to the Inter-American Convention on Letters Rogatory. We were successful in
serving the individuals, once again accomplishing what few other law firms have been able to do.

We prevailed on the motion to dismiss and on the motion for class certification. Discovery was greatly
complicated by the fact that the vast majority of the documents were in Portuguese, and the Court had no
subpoena power to force witnesses to appear for deposition. In spite of this, we hired attorneys fluent in


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Portuguese to help us with the review, and we were able to depose one of the Company’s executives. After
three mediations over the course of eight months, we were able to reach a $27 million cash settlement with
the Defendants.


I In re Cox Radio, Inc. Shareholders Litigation
Saxena White represented a Florida Police Pension Plan in an action against Cox Radio. The Pension Plan
alleged that the initial price offered to public shareholders in the tender offer was unfair and did not properly
value the assets of Cox Radio. After considerable discovery and expedited motion practice, we were
instrumental in raising the price of the deal by nearly 30%, creating nearly $18 million in additional value for
all public shareholders, including the Pension Plan. We also obtained the issuance of additional meaningful
disclosures regarding the valuation process used in the deal.


I In re Clear Channel Outdoor Holdings, Inc. Derivative Litigation
Saxena White, on behalf of an institutional investor client, filed a derivative action on behalf of nominal
Defendant Clear Channel Outdoor Holdings (“Outdoor” or the “Company”) against certain of the Company’s
current and former directors, its majority stockholder, Clear Channel Communications, Inc. (“Clear Channel”),
and other entities with respect to a 2009 agreement between the Company and Clear Channel. The derivative
action brought forth claims that Outdoor’s directors breached their fiduciary duties by approving a $1 billion
unsecured loan on highly unfavorable terms to Clear Channel. In response to the claims brought forth in the
derivative action, the Company’s Board of Directors established a Special Litigation Committee (the “SLC”)
and empowered it to investigate the matters and claims raised in the action.

After an extensive evaluation and investigation of the derivative claims, the SLC initiated discussions with
certain of the Defendants to explore the prospects of settlement. The SLC also initiated discussions with
Plaintiffs in order to explore the prospects of settling the derivative action. After several months of working
with the SLC, the parties to the derivative action reached an agreement in principle to resolve the action on
terms that will provide substantial and meaningful benefits to the Company and its shareholders, including an
agreement that would provide a dividend to shareholders in the amount of $200 million, as well as additional
corporate governance reforms. The settlement agreement acknowledges that Plaintiffs’ involvement in the
settlement negotiations was a factor in achieving the benefits received by Outdoor and its shareholders as
a result of the settlement.




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 SHAREHOLDERS & DIRECTORS




              M AYA S A X E N A
               Maya Saxena, co-founder of Saxena White P.A., has been practicing exclusively in the securities
               litigation field for over 20 years, representing institutional investors in shareholder actions
               involving breaches of fiduciary duty and violations of the federal securities laws. Prior to
forming Saxena White, Ms. Saxena served as the Managing Partner of the Florida office of one of the nation’s
largest securities litigation firms, successfully directing numerous high profile securities cases. Ms. Saxena
gained valuable trial experience before entering private practice while employed as an Assistant Attorney
General in Ft. Lauderdale, Florida. During her time as an Assistant Attorney General, Ms. Saxena represented
the State of Florida in civil cases at the appellate and trial level and prepared amicus curiae briefs in support
of state policies at issue in state and federal courts. In addition, Ms. Saxena represented the Florida Highway
Patrol and other law enforcement agencies in civil forfeiture trials.

Ms. Saxena has been instrumental in recovering nearly a billion dollars on behalf of investors. Recently,
Ms. Saxena played a key role in obtaining a $320 million settlement against Wells Fargo & Company. The
settlement includes a $240 million cash payment from Defendants’ insurers-representing the largest
insurance-funded monetary component of any shareholder derivative settlement by over $100 million. Ms.
Saxena also led the litigation team that settled against Wilmington Trust for $210 million, one of the largest
settlements in 2018. Other prominent settlements include: Rayonier, Inc. ($73 million settlement), SIRVA, Inc.
($53.3 million settlement), Aracruz Celulose ($37.5 million settlement), Brixmor Property Group ($28 million
settlement), and Sunbeam (settled with Arthur Andersen LLP for $110 million-one of the largest settlements
ever with an accounting firm-and a $15 million personal contribution from former CEO Al Dunlap).

Ms. Saxena is a frequent speaker at educational forums involving public pension funds and advises public and
multi-employer pension funds on how to address fraud-related investment losses. She is an active member
of the National Association of Public Pension Attorneys (“NAPPA”) and co-chairs its Securities Litigation
Committee. As part of her professional endeavors, Ms. Saxena writes numerous articles on protecting
shareholder rights, and works closely with other NAPPA members to author, update, and publish a white
paper on post-Morrison International Securities Litigation.

Ms. Saxena has been recognized in the South Florida Business Journal’s “Best of the Bar” as one of the top
lawyers in South Florida, and has been selected to the Florida Super Lawyers list for ten consecutive years in
a row. Ms. Saxena was also selected by her peers for inclusion in The Best Lawyers in America® four years in
a row, as well as one of Florida’s “Legal Elite” by Florida Trend magazine. Recently, Ms. Saxena was named a
“500 Leading Plaintiff Financial Lawyer” by Lawdragon.

Ms. Saxena graduated from Syracuse University summa cum laude in 1993 with a dual degree in policy
studies and economics, and graduated from Pepperdine University School of Law in 1996. Ms. Saxena is
a member of the Florida Bar, and is admitted to practice before the United States District Courts for the
Southern and Middle Districts of Florida, as well as the Eleventh Circuit Court of Appeals, and the Supreme
Court of the United States.




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              JOSEPH E. WHITE, III
               Joseph E. White, III, co-founder of Saxena White P.A., has represented shareholders as lead
               counsel in major securities fraud class actions and derivative actions for nearly 20 years. He
               has represented lead and representative plaintiffs in front-page cases, including actions against
Bank of America, Lehman Brothers and Washington Mutual. He has successfully settled cases yielding
over one billion dollars against numerous publicly traded companies, including cases against Rayonier,
Inc. ($73 million), Brixmor Property Group ($28 million), SIRVA, Inc. ($53.3 million), and one of the largest
settlements in 2018, Wilmington Trust ($210 million). Mr. White has also developed an expertise in litigating
precedent-setting cases against foreign publicly traded companies, and settled two cases involving Brazilian
corporations: Sadia, Inc. ($27 million) and Aracruz Celulose ($37.5 million).

Mr. White has also helped achieve meaningful corporate governance and monetary recoveries for shareholders
in merger related and derivative lawsuits. Recently, Mr. White played an instrumental role in obtaining a
$320 million settlement in In re Wells Fargo & Company Shareholder Litigation. The settlement includes a
$240 million cash payment from Defendants’ insurers-representing the largest insurance-funded monetary
component of any shareholder derivative settlement by over $100 million. In In re Clear Channel Outdoor
Holdings Derivative Litigation, Mr. White’s efforts obtained repayment of a $200 million loan from Outdoor’s
parent which was then paid as a special dividend to Outdoor shareholders. Mr. White regularly lectures on
topics of interest to pension trustees, and advises municipal, state, and international institutional investors
on instituting effective systems to monitor and prosecute securities and related litigation.

Mr. White has been recognized by Palm Beach Illustrated as a “Top Lawyer,” and is a current Lawyers of
Distinction Certified Member. He was also named a Florida’s “Legal Elite” by Florida Trend magazine. Recently,
Mr. White was named a “500 Leading Plaintiff Financial Lawyer” by Lawdragon.

Mr. White earned an undergraduate degree in Political Science from Tufts University before obtaining his
Juris Doctor from Suffolk University School of Law.

Mr. White is a member of the Massachusetts, Florida, New York and Pennsylvania Bars. He is also admitted
to the United States District Courts for the Southern, Northern, and Middle Districts of Florida, the Southern
District of New York, the District of Massachusetts, the District of Colorado, the Western District of Michigan,
and the Northern District of Illinois. Mr. White is also a member of the United States Circuit Courts of Appeals
for the First and Eleventh Circuits, and the Supreme Court of the United States.




              STEVEN B. SINGER

             Steven B. Singer is a Director at Saxena White P.A., and oversees the Firm’s securities litigation
             practice. Prior to joining the Firm, Mr. Singer was employed for more than 20 years at Bernstein
             Litowitz Berger & Grossmann LLP, a well-known plaintiffs’ firm, where he served as a senior
partner and member of the firm’s management committee.

During his career Mr. Singer has been the lead partner responsible for prosecuting many of the most
significant and high-profile securities cases in the country, which collectively have recovered billions of
dollars for investors. He led the litigation against Bank of America relating to its acquisition of Merrill Lynch,
which resulted in a landmark settlement shortly before trial ($2.43 billion), one of the largest recoveries in
history. Mr. Singer’s work on that case was the subject of extensive media coverage, including numerous



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articles published in The New York Times. He also has substantial trial experience and was one of the lead
trial lawyers on the WorldCom Securities Litigation ($6 billion settlement) after a four-week jury trial.

Recently, Mr. Singer led the litigation team that successfully recovered $320 million against Wells Fargo &
Company. The settlement includes a $240 million cash payment from Defendants’ insurers-representing
the largest insurance-funded monetary component of any shareholder derivative settlement by over
$100 million. In addition, Mr. Singer has been lead counsel in numerous other actions that have resulted
in substantial settlements, including cases involving Citigroup Inc. ($730 million, representing the second
largest recovery in a case brought on behalf of bond purchasers), Lucent Technologies ($675 million), Mills
Corp. ($203 million), WellCare Health Plans ($200 million), Satyam Computer Services ($150 million), Biovail
Corp. ($138 million), Bank of New York Mellon ($180 million), JP Morgan Chase ($150 million), and one of the
largest settlements in 2018, Wilmington Trust ($210 million).

At Saxena White, Mr. Singer serves as lead counsel in many highly significant securities matters, including
class actions involving The Chemours Company, Novo Nordisk, DaVita, Inc., and Credit Suisse Group AG.

Mr. Singer has been consistently recognized by industry observers for his legal excellence and achievements.
He has been selected by Lawdragon magazine as one of the “500 Leading Lawyers in America,” by Benchmark
Plaintiff as a “Litigation Star”, and by the Legal 500 US Guide as one of the “Leading Lawyers” in securities
litigation — one of only seven plaintiffs’ attorneys so recognized. Recently, Mr. Singer was named a “500
Leading Plaintiff Financial Lawyer” by Lawdragon.

Mr. Singer graduated cum laude from Duke University in 1988, and from Northwestern University School of
Law in 1991. He is a member of the New York State Bar, as well as the United States District Courts for the
Southern and Eastern Districts of New York, the Northern District of Illinois, and the District of Colorado.




              D AV I D K A P L A N
             David R. Kaplan is a Director at Saxena White and manages the Firm’s California office. Mr.
             Kaplan has over fifteen years of experience in the field of securities and shareholder litigation.
             He has helped investors achieve hundreds of millions of dollars in recoveries in federal and state
courts nationwide, including in class actions, direct “opt out” actions, and shareholder derivative litigation.

Prior to joining Saxena White, Mr. Kaplan was a partner at Bernstein Litowitz Berger & Grossman LLP, where
he co-chaired its direct-action practice, and counseled institutional investor clients on potential legal claims
as a member of the firm’s new matters department. Before that, Mr. Kaplan was a senior associate at Irell &
Manella LLP, where he handled a variety of high-stakes business disputes and complex litigation matters.

A large part of Mr. Kaplan’s day-to-day practice involves advising mutual funds, insurance companies, pension
funds, hedge funds, and other institutional asset managers on whether to remain passive participants in
securities class actions or opt out to maximize, accelerate, and protect their securities fraud recoveries. Most
recently, Mr. Kaplan represented prominent institutional investor opt out groups in New York, New Jersey,
Connecticut, and Texas federal courts. Mr. Kaplan has also successfully represented institutional investors in
opt out actions in California federal and state courts.

Mr. Kaplan also has extensive experience advising institutional clients on pursuing securities fraud recoveries
in international jurisdictions. His work in this area includes virtually all countries in which shareholder




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collective actions are authorized by law, including Canada, Australia, England, the Netherlands, Germany,
Italy, France, Japan, Israel, and Brazil.

Mr. Kaplan has authored multiple articles relating to class actions and the federal securities laws, which have
been published in The National Law Journal, The Daily Journal, Law360, Pensions & Investments, and The
NAPPA Report, among other publications. Mr. Kaplan is an editor of the American Bar Association’s Class
Actions and Derivative Suits Committee’s Newsletter. For his achievements, Mr. Kaplan has been selected as
a “Rising Star” by Super Lawyers and a “500 Leading Plaintiff Financial Lawyer” by Lawdragon.

Mr. Kaplan graduated with a Bachelor of Arts, cum laude, from Washington and Lee University, and earned
his Juris Doctor, High Honors, from Duke University School of Law, where he was an editor of Duke Law
Review. He is admitted to practice in California, United States District Courts for the Central, Northern, and
Southern Districts of California, and the Eastern District of Wisconsin. He is also admitted to the United
States Court of Appeals for the Ninth Circuit, and the and United States Bankruptcy Court for the Central
District of California.




              LESTER R. HOOKER
            Lester Hooker, Director, is involved in all of Saxena White’s practice areas, including securities
            class action litigation and shareholder derivative actions. During his tenure at Saxena White,
            Mr. Hooker has obtained substantial monetary recoveries and secured valuable corporate
governance reforms on behalf of investors nationwide.

Mr. Hooker played a key role on the litigation teams that have successfully prosecuted securities fraud
class and derivative actions, including In re Wells Fargo & Company Shareholder Litigation ($320 million
settlement, which includes a $240 million cash payment from Defendants’ insurers - representing the largest
insurance - funded monetary component of any shareholder derivative settlement by over $100 million),
In re HD Supply Holdings, Inc. Securities Litigation ($50 million settlement-one of the largest securities
class action settlements ever achieved in the U.S. District Court for the Northern District of Georgia), In
re Rayonier Inc. Securities Litigation ($73 million settlement), Westchester Putnam Counties Heavy and
Highway Laborers Local 60 Benefit Funds v. Brixmor Property Group, Inc. et al., ($28 million settlement),
Central Laborers’ Pension Fund v. Sirva, Inc., ($53.3 million settlement along with the adoption of important
corporate governance reforms), City Pension Fund for Firefighters and Police Officers in the City of Miami
Beach v. Aracruz Celulose S.A., et al., ($37.5 million settlement), In re Sadia, Inc. Securities Litigation ($27
million settlement), and In re Tower Group International, Ltd. Securities Litigation ($20.5 million settlement).
Mr. Hooker is currently part of the litigation teams prosecuting securities fraud class actions against
companies such as The Chemours Company, DaVita, Inc., Patterson Companies, Inc., Perrigo Company plc,
and Sinclair Broadcast Group.

Mr. Hooker received a Bachelor of Arts degree with a major in English from the University of California
at Berkeley. He earned his Juris Doctor from the University of San Diego School of Law, where he was
awarded the Dean’s Outstanding Scholar Scholarship. Mr. Hooker received his master’s degree in Business
Administration with an emphasis in International Business from the University of San Diego School of
Business, where he was awarded the Ahlers Center International Graduate Studies Scholarship. Mr. Hooker
has recently been recognized as a Super Lawyer “Rising Star” for 2017 and 2018, a South Florida Legal
Guide’s “Up and Comer” in 2017, and a Palm Beach Illustrated “Top Lawyer” in 2018. Recently, Mr. Hooker was
named a “500 Leading Plaintiff Financial Lawyer” by Lawdragon.


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Mr. Hooker is a member of the State Bars of California, Florida, New York, and the District of Columbia,
and is admitted to practice law in the United States District Courts for the Northern, Central, Southern and
Eastern Districts of California, the Southern, Middle and Northern Districts of Florida, the Western District of
Michigan, the District of Colorado, and the Northern District of Illinois. Mr. Hooker is also admitted to practice
law in the United States Courts of Appeals for the Ninth Circuit.




              BRANDON GRZANDZIEL
              Brandon Grzandziel, Director, is involved in all of Saxena White’s practice areas, including
              securities class action litigation and shareholder derivative actions. During his tenure at Saxena
              White, Mr. Grzandziel has obtained substantial monetary recoveries including the one of the
largest settlements in 2018, In re Wilmington Trust Corporation Securities Litigation ($210 million).

Additionally, Mr. Grzandziel has been a member of the teams securing significant recoveries for investors
In re Rayonier Securities Litigation ($73 million), City Pension Fund v. Aracruz Celulose S.A. ($37.5 million
against a foreign defendant), In re Bank of America ($62.5 million, which ranks among the top ten derivative
settlements approved by the federal courts), and In re Sadia, S.A. Securities Litigation ($27 million against
foreign defendants). Having extensive appellate experience, Mr. Grzandziel has also successfully secured
important new precedent for the protection of investors in cases such as FindWhat Investor Group v.
FindWhat.com.

Mr. Grzandziel earned his Bachelor of Arts from Wake Forest University, where he graduated with Honors in
2005. In 2008, he received his Juris Doctor from the University of Miami School of Law while being Executive
Editor of the University of Miami Business Law Review. His article, “A New Argument for Fair Use Under the
Digital Millennium Copyright Act,” was published in the Spring/Summer 2008 issue. During his recent legal
career, Mr. Grzandziel has been recognized as a Super Lawyer “Rising Star” for 2017 through 2019.

Mr. Grzandziel is a member of the Florida Bar, the United States District Courts for the Southern and Middle
Districts of Florida, and the United States Court of Appeals for the Second Circuit.




              BRANDON MARSH
                Brandon Marsh is a Director in the Firm’s California office. Mr. Marsh’s practice is focused on
                complex litigation, including matters involving securities fraud, corporate governance, and
                shareholder rights litigation. He has represented both plaintiffs and defendants in all phases of
litigation in federal and state courts, at both the trial court and appellate levels.

Mr. Marsh has helped investors recover over $750 million in securities class actions and direct opt-out actions.
Significant recoveries include In re Cobalt International Energy, Inc. Securities Litigation ($389.6 million – the
largest securities class action recovery of 2019), In re Genworth Financial, Inc. Securities Litigation ($219
million – the largest-ever securities class action recovery in Virginia federal courts), and In re Rayonier Inc.
Securities Litigation ($73 million).

Prior to joining Saxena White, Mr. Marsh was a senior counsel at a leading securities law firm, where his
practice focused on class action securities litigation and counseling institutional investor clients on potential
legal claims as a member of the firm’s new matter department. Earlier in his career, Mr. Marsh was a senior



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associate at Irell & Manella LLP, where he represented clients in a variety of high-stakes business disputes
and complex litigation matters.

Mr. Marsh has authored numerous articles relating to class actions, arbitration, and the federal securities
laws. His articles have been published in The NAPPA Report, Pensions & Investments, Law360 and American
Bar Association periodicals. Mr. Marsh has been repeatedly recognized by Super Lawyers as a “Rising Star.”

Mr. Marsh began his legal career as a law clerk for the Honorable Jerome Farris of the United States Court
of Appeals for the Ninth Circuit. He earned his law degree from Stanford Law School, where he served as an
editor of the Stanford Law Review and graduated with honors (“with Distinction”). Mr. Marsh is admitted to
practice in California, the United States District Courts for the Central and Northern Districts of California,
and the Eastern District of Wisconsin. He is also admitted to the United States Court of Appeals for the Ninth
and Third Circuits.




              THOMAS CURRY
              Thomas Curry is a Director at Saxena White and manages the Firm’s Delaware office. He
              represents investors in corporate governance matters, with a particular focus on M&A litigation
              in the Delaware Court of Chancery.

Prior to joining Saxena White, Mr. Curry was an associate at Labaton Sucharow LLP, where he represented
investors in many of the most significant and highest profile corporate governance matters to arise in recent
years. Mr. Curry has particular expertise in representing public investors shortchanged by corporate sales
and other M&A activity influenced by insider conflicts of interest. He has successfully represented investors
in a wide variety of derivative, class, and appraisal matters challenging conflicted M&A transactions in the
Delaware Court of Chancery and other jurisdictions around the United States. Mr. Curry also has significant
experience advising United States-based investors seeking to protect their interests in connection with M&A
activity subject to the law of foreign jurisdictions.

Mr. Curry successfully represented the lead petitioners in appraisal actions arising from Coach’s acquisition
of Kate Spade and General Electric’s combination of its oil and gas business with Baker Hughes. He was a key
member of teams that secured a $35.5 million derivative recovery in litigation arising from AGNC Investment
Corp.’s internalization of its investment manager and corporate reforms valued at approximately $25 million
in litigation arising from a related-party loan extended by Clear Channel Outdoor Holdings to its controlling
stockholder, iHeart Communications.

Mr. Curry has been named a “Rising Star” in the field of M&A litigation by The Legal 500 in both 2019
and 2020.

Mr. Curry began his legal career at the prominent Wilmington defense firm Morris, Nichols, Arsht & Tunnell
LLP. He earned a Juris Doctor from Cornell Law School and a Bachelor of Arts from Temple University.

Mr. Curry is admitted to practice in Delaware, and the United States District Court for the District of Delaware.




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 AT TO R N E YS




              M A R I O A LV I T E
              Mario Alvite performs analysis of potential securities and shareholder rights actions. Mr. Alvite’s
              efforts are focused on stages of litigation including case origination and pre-trial discovery.
              Mr. Alvite is experienced in e-discovery and project management in the corporate litigation,
transactional, and regulatory areas. He has served on teams representing investors against Wilmington Trust
and Rayonier Inc.

Mr. Alvite received his Bachelor of Business Administration from Florida International University. He later
earned his Juris Doctor from Nova Southeastern University. He is a member of the Florida Bar, and is admitted
to practice in the United States District Court for the Southern and Middle Districts of Florida.




              R H O N D A C AVA G N A R O
             Rhonda Cavagnaro is Special Counsel to Saxena White and a member of the Firm’s Institutional
             Outreach group. She brings extensive expertise in many areas of employee benefits and pension
             administration with nearly two decades of public fund experience. Ms. Cavagnaro frequently
speaks at industry conferences to further trustee education on fiduciary issues facing institutional investors.

Ms. Cavagnaro began her legal career as an Assistant District Attorney in New York City, where she was
instrumental in creating the office’s General Crimes Unit, covering major crimes. As an ADA, Ms. Cavagnaro
gained valuable trial experience and prosecuted hundreds of misdemeanor and felony cases.

Ms. Cavagnaro started her career serving public pensions as Assistant General Counsel at the New York City
Employees’ Retirement System. She then went on to become the first General Counsel to the New York City
Police Pension Fund in February 2002, where she worked for over 11 years, providing advice to the Board of
Trustees and 140-member staff with respect to benefits administration, fiduciary issues, employment issues,
legislation, and transactional matters. Ms. Cavagnaro last served as the Assistant CEO for the Santa Barbara
County Employee’s Retirement System, where under the general direction of the CEO and Board of Trustees,
she oversaw the day to day operations of the System.

Ms. Cavagnaro graduated with a Bachelor of Arts in Political Science and History from the University of
Rochester, in Rochester, New York, and earned her Juris Doctor from the California Western School of Law
in San Diego, California. She is a member of the New York and New Jersey State Bars, and is admitted to the
United States District Court for the Southern and Eastern Districts of New York, and is a current member of
the National Association of Public Pension Attorneys.




              SARA DILEO
             Sara DiLeo has extensive experience in federal securities class action lawsuits, derivative
             litigation, and complex commercial litigation in both federal and state courts. Ms. DiLeo is
             currently part of the litigation teams prosecuting securities fraud class actions against companies
such as DaVita, Inc. and Evolent Health, Inc. Recently, Ms. DiLeo was a member of the litigation team that


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successfully recovered a $320 million derivative settlement for shareholders of Wells Fargo & Company. She
was also part of the litigation teams that obtained a $28.25 million settlement for shareholders of TrueCar,
Inc., and a $50 million settlement for shareholders of HD Supply Holdings, Inc.-one of the largest securities
class action settlements ever achieved in the U.S. District Court for the Northern District of Georgia. Before
joining Saxena White, Ms. DiLeo practiced securities litigation for nine years at a top-ranked global law firm,
Skadden, Arps, Slate, Meagher & Flom LLP.

Ms. DiLeo graduated from New York University’s College of Arts & Sciences program in 2003, where she
received a Bachelor of Arts degree with a double major in Political Science and Psychology. She received her
Juris Doctor degree from Fordham University School of Law in 2008. While attending law school, Ms. DiLeo
was an Articles Editor for the Fordham Urban Law Journal and interned for the Hon. Barbara Jones in the
United States District Court for the Southern District of New York.

Ms. DiLeo is a member of the New York Bar.




              H A N I FA R A H
                Hani Farah is an Attorney at Saxena White’s California office. Prior to joining Saxena White,
                Mr. Farah practiced at a leading securities litigation law firm where he analyzed potential new
                cases, primarily U.S. securities class action and individual opt-outs suits, as well as international
securities litigation.

Prior to joining traditional practice, Mr. Farah was the primary legal counsel for a U.S. presidential candidate.
In this role, Mr. Farah researched and provided counsel on myriad issues relevant during the 2016 campaign.

Mr. Farah graduated cum laude from the University of California San Diego in 2011. He later graduated cum
laude from the University of San Diego School of Law in 2015. He is a member of the California Bar, and is
admitted to practice in the United States District Court for the Central District of California.




              WILLIAM FORGIONE
             Prior to joining Saxena White, William Forgione served as a senior legal executive with
             Teachers Insurance and Annuity Association (“TIAA”) and its subsidiaries for over 25 years.
             While at TIAA, he held a variety of leadership positions, including as Executive Vice President
and General Counsel with TIAA Global Asset Management and Nuveen, a leading financial services group
of companies that provides investment advice and portfolio management through TIAA and numerous
investment advisors. He oversaw the legal, compliance, and corporate governance aspects associated with
the organization’s $900 billion investment portfolios and asset management businesses, including TIAA’s
general account, various separate accounts, registered and unregistered funds and institutional investment
mandates.

Under Mr. Forgione’s leadership, TIAA was actively involved in a number of significant investment litigation
matters in order to recover the maximum amount for the benefit of its investment portfolios and the beneficial
owners. These included acting as lead plaintiff in class action lawsuits, initiating proxy contests, pursuing
direct actions where appropriate and asserting appraisal rights when it felt the consideration to be paid to
shareholders in connection with various merger and acquisition activity involving portfolio companies was
inadequate.

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Mr. Forgione also served as Deputy General Counsel to TIAA, where among his many responsibilities, he
acted as a strategic partner and advisor to the heads of TIAA’s pension and insurance business lines. He also
served as a member of TIAA’s Senior Leadership Team, actively participating on a number of management
committees. In addition, Mr. Forgione has valuable corporate governance experience, having advised
and served on a number of Boards, including Nuveen, the Westchester Group, several foreign operating
subsidiaries of TIAA, as well as various Risk Management, Investment, Asset-Liability and Audit Committees.
He also has served as lead counsel on several large business acquisitions.

After graduating summa cum laude from Binghamton University with a B.S. in Accounting, Mr. Forgione
received his J.D. degree from Boston University. Among many industry associations, he has served as
President and a member of the Board of Trustees of the Association of Life Insurance Counsel, President
and Trustee of the American College of Investment Counsel and Chairman of the Investment Committee of
the Life Insurance Council of New York. Mr. Forgione has spoken at many industry conferences and seminars,
taught undergraduate and graduate courses in Accounting and Law and has won such awards as Charlotte
Business Journal’s Corporate Counsel Award for his success in corporate law.

Prior to joining TIAA, Mr. Forgione was associated with Fried, Frank, Harris, Shriver & Jacobson LLP, and
Csaplar & Bok, where he practiced in the areas of mergers and acquisitions and corporate finance. He is
admitted to the Bar of the State of New York.




             KYLA GRANT
              Kyla Grant has extensive experience in federal securities class action suits, securities
              enforcement, and complex commercial litigation in both federal and state courts. Before
              joining Saxena White, Ms. Grant practiced securities litigation at two top-ranked global law
firms, Shearman & Sterling LLP and WilmerHale. Ms. Grant has been a member of the litigation teams that
have successfully recovered hundreds of millions of dollars on behalf of injured shareholders, including the
recent $320 million derivative settlement against Wells Fargo & Company. She was also a member of the
litigation team that obtained a $28 million settlement against Brixmor Property Group, Inc.

Ms. Grant graduated from the University of Hawai’i at Mānoa with distinction in 2004, where she received
a Bachelor of Arts degree, majoring in both English and Political Science. She received her Juris Doctor
degree from the University of Virginia School of Law in 2008. While attending law school, she was a recipient
of the Dean’s Scholarship, was appointed as a Dillard Fellow (a role in which she worked with first year
students to improve their persuasive writing skills) and was an Articles Editor for the Virginia Journal of
International Law.

Ms. Grant is a member of the New York State Bar and the United States District Court for the Southern
District of New York.




             D O N A L D G R U N E WA L D
             Donald Grunewald focuses on performing research for securities and derivatives litigation.
             Before joining Saxena White, Mr. Grunewald taught Legal Research and other legal courses at
             a college in New York for six years. He has prepared economic and legal research for litigation,
businesses, and academics.


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Mr. Grunewald earned his Bachelor of Arts in Economics, magna cum laude, from Haverford College in 2004.
He later earned a Bachelor of Arts in Jurisprudence from Oxford University and a Master of Laws from the
University of Pennsylvania Law School.

Mr. Grunewald has been a member of the New York State Bar since 2008.




              SCOTT GUARCELLO
              Scott Guarcello’s practice focuses on the discovery stage of litigation. With over ten years of
              significant complex e-discovery experience, he brings to Saxena White an expertise honed by
              the numerous e-discovery services and training programs that he created, led and supported
while serving as a Senior Managing Attorney for a global e-discovery consulting and services provider.

Combining both discovery and technical expertise, Mr. Guarcello advises on best practices concerning
information governance principles, ESI protocols, collections, processing, large-scale document reviews,
production management, and related infrastructure applications. Recently, Mr. Guarcello was a member of
the litigation team that successfully obtained a $320 million derivative settlement against Wells Fargo &
Company. He was also part of the litigation teams that recovered a $28.25 million settlement against TrueCar,
Inc., and secured a $50 million settlement against HD Supply Holdings, Inc.-one of the largest securities
class action settlements ever achieved in the U.S. District Court for the Northern District of Georgia. He is
currently a member of the litigation teams prosecuting securities class actions against Credit Suisse Group
AG, Evolent Health, Inc., DaVita, Inc., Perrigo Company plc, and Patterson Companies.

Mr. Guarcello earned a Bachelor of Science from Stetson University and received a Juris Doctor from Florida
International University where he graduated cum laude with a concentration in securities law. He was a
regular recipient of the Dean’s List Award and received the CALI Book Awards for the Complex Litigation
and Corporate Tax courses. Mr. Guarcello has also received the Legal Elite Award for 2017 and 2018 and
holds extensive industry certifications that span review tools, feature-specific technical applications, project
management and analytics. As an active member in the e-discovery community, Mr. Guarcello has been a
guest speaker for both intimate and large audiences.

Mr. Guarcello is a member of the Florida Bar.




              S COT T KO R E N
            Scott Koren is an Attorney at Saxena White. While attending Law School, he competed at the
            National Baseball Salary Arbitration Competition, helping Pace Law earn 2nd place in 2018.
            Prior to joining Saxena White, Mr. Koren gained experience working as legal intern for the
Westchester County Supreme Court – Commercial Division.

Mr. Koren received his undergraduate degree in Business Management and Entrepreneurship from the
University of Arizona and received his Juris Doctor degree from Pace University Law School. Mr. Koren is a
member of the New York Bar.




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              J O N AT H A N D . L A M E T
              Jonathan D. Lamet has extensive experience in litigating direct securities actions and derivative
              actions involving publicly traded companies. Mr. Lamet is currently part of the litigation
              teams prosecuting securities fraud class actions against companies such as Health Insurance
Innovations, Inc. n/k/a Benefytt Technologies and Patterson Companies, Inc.

Before joining Saxena White, Mr. Lamet practiced commercial and civil litigation, including directors and
officers liability, securities and fraud litigation, bankruptcy adversary proceedings, and class action defense
for seven years at an Am-Law 100 firm, Akerman LLP.

Mr. Lamet graduated from Yeshiva University, Sy Syms School of Business in 2010, where he received his
Bachelor of Science in Business Management. He received his Juris Doctor degree from University of Miami
School of Law in 2013. Mr. Lamet was a member of the University of Miami Law Review. While attending
law school, Mr. Lamet interned for the United States Attorney’s Office, Economic Crimes Division, for the
Southern District of Florida, and for the Hon. William Turnoff in the United States District Court for the
Southern District of Florida.

Mr. Lamet is a member of the Florida Bar, the United States District Courts for the Southern and Middle
Districts of Florida, and the United States Court of Appeals for the Eleventh Circuit.




              D O U G MC K E I G E
               Douglas McKeige, Counsel, brings unparalleled experience investigating, commencing and
               prosecuting meritorious securities fraud and corporate governance cases to Saxena White.
               Mr. McKeige was co-managing partner of Bernstein Litowitz Berger & Grossmann LLP, a well-
known plaintiffs’ firm, for many years. During his time at that firm, he spearheaded the firm’s institutional
investor practice and developed and led its case starting department. Utilizing his extensive knowledge of
the securities markets, Mr. McKeige counseled pension funds, hedge funds, private equity firms and, most
importantly, hardworking men and women saving for their retirement, on potential claims and avenues
for case prosecution. Under Mr. McKeige’s supervision, the firm successfully commenced and prosecuted
hundreds of cases in state and federal courts throughout the country, and recovered more than $12 billion
on behalf of defrauded investors, including cases involving WorldCom ($6.2 billion), Nortel Networks ($2.45
billion), Freddie Mac ($410 million), Bristol-Myers Squibb ($300 million), and Mills Corporation ($203 million).

Mr. McKeige combines at Saxena White his more than two decades of legal experience with years of knowledge
as a hedge fund Managing Director, during which time he helped build two multi-billion dollar hedge funds.
As a result of his hedge fund experience, Mr. McKeige has extensive experience with macroeconomic themes,
company-specific opportunities and trade implementation strategies across all asset classes (equities, fixed
income, foreign exchange and commodities), and with using derivatives across all major geographies. His
unique perspective on the workings of the financial markets provides Saxena White’s institutional clients
with valuable information when considering strategies for recovering investment losses.

Mr. McKeige earned his B.A. in Economics from Tufts University, cum laude, and his J.D. from Tulane Law
School, magna cum laude, Order of the Coif. Mr. McKeige was Articles Editor of the Tulane Law Review and
is admitted to the Bar of the State of New York.




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              JILL MILLER
               Jill Miller focuses her practice on e-discovery, including project management and litigation
               support services for class actions and other complex litigation. Ms. Miller was a member of the
               team that secured one of the largest settlements in 2018, In re Wilmington Trust Corporation
Securities Litigation ($210 million). Prior to joining Saxena White, Ms. Miller served as team lead at various
law firms for discovery in large, complex class actions and mass torts in the areas of securities fraud, software
technology, pharmaceutical and patent infringement.

Prior to her litigation experience, Ms. Miller was an associate at Ruden McClosky where she practiced real
estate law. During her 11 years with the firm, she represented large developers of residential and commercial
real estate throughout the South Florida area. Ms. Miller began her legal career as an associate in the real
estate practice division of a major New Jersey law firm where she concentrated her practice on residential
and commercial real estate transactions and development. She also dedicated a significant portion of her
practice to casino licensing and compliance.

For the past several years, Ms. Miller has volunteered her time as a Guardian ad Litem, protecting the rights
of abused and neglected children in Broward County, Florida.

Ms. Miller received her law degree from Hofstra University in New York where she was the Articles Editor of
the International Property Investment Journal. She also interned at the United States Federal Court, Eastern
District of New York during her third year of law school.

Ms. Miller is admitted to practice in Florida, and the United States District Court for the Southern District of
Florida.




              DIANNE PITRE
               Dianne Pitre prosecutes securities fraud, corporate governance and shareholder rights litigation
               on behalf of injured shareholders. Ms. Pitre has served on the litigation teams that successfully
               prosecuted securities fraud class actions such as In re Wells Fargo & Company Shareholder
Litigation ($320 million settlement), In re Rayonier Inc. Securities Litigation ($73 million settlement),
Westchester Putnam Counties Heavy and Highway Laborers Local 60 Benefit Funds v. Brixmor Property
Group, Inc. et al. ($28 million settlement), and In re Tower Group International, Ltd. Securities Litigation,
($20.5 million settlement). Ms. Pitre is currently a member of the litigation teams prosecuting significant
securities fraud class actions against Patterson Companies, Sinclair Broadcast Group, Novo Nordisk, and The
Chemours Company.

Before joining Saxena White, Ms. Pitre was a legal intern for Jack in the Box, Inc. and Alliant Insurance
Services, Inc. She worked extensively with their in-house departments, assisting in a variety of corporate,
employment, and government regulation matters. Ms. Pitre was an intern for Jewish Family Service of San
Diego and Housing Opportunities Collaborative, two San Diego pro bono legal organizations. Additionally,
she served as a Legal Intern for the San Diego City Attorney’s Office with their Advisory Division, Public
Works Section. Ms. Pitre has recently been recognized as a Super Lawyer “Rising Star” for 2018 and 2019.

Ms. Pitre graduated from the University of California, San Diego in 2008, where she received a Bachelor
of Arts degree, majoring in Political Science with a minor in Law and Society. In 2012, she received her
Juris Doctor degree from the University of San Diego School of Law. While attending law school, Ms. Pitre
earned various scholarships and awards, including the San Diego La Raza Lawyers Association Scholarship


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and Frank E. and Dimitra F. Rogozienski Scholarship for outstanding academic performance in business
law courses. Her outstanding law school academic achievements culminated in two CALI Excellence for
the Future Awards for receiving the top grade in her Fall 2011 International Sports Law and Entertainment
Law classes. Ms. Pitre is an alumnus of Phi Delta Phi, the international legal honor society and oldest legal
organization in continuous existence in the United States.

Ms. Pitre is a member of the Florida and California State Bars. She is admitted to practice before the United
States District Courts for the Southern and Northern Districts of Florida and the Northern, Central, Southern,
and Eastern Districts of California.




             J O S H U A S A LT Z M A N
              Joshua Saltzman focuses his practice on securities and derivative litigation. Before joining
              Saxena White, Mr. Saltzman litigated investor class actions, opt-out securities actions and
              derivative actions at two boutique law firms in New York City. Recently, Mr. Saltzman was a
member of the litigation team that obtained a $53 million derivative settlement on behalf of New Senior
Investment Group, which was the largest settlement of all time in a derivative lawsuit when measured as a
percentage of the company’s total market capitalization. He was also a member of the litigation team that
obtained a $50 million settlement on behalf of HD Supply Holdings, Inc. – one of the largest securities class
action settlements ever achieved in the U.S. District Court for the Northern District of Georgia.

Additionally, Mr. Saltzman has been a member of litigation teams that have obtained numerous other
substantial recoveries on behalf of investors, including cases involving American International Group ($40
million settlement on behalf of AIG employees who invested in AIG’s company stock fund, representing
one of the largest ERISA stock drop recoveries of all time), Cornerstone Therapeutics ($17.9 million for
minority stockholders of Cornerstone Therapeutics whose shares were purchased in a controller buyout),
and Petrobras (high percentage recovery on behalf of state pension system in opt-out securities action).
Mr. Saltzman is currently a member of the litigation teams prosecuting securities fraud class actions against
companies such as Perrigo Company plc, and Evolent Health, Inc.

Mr. Saltzman received a Bachelor of Arts degree in English from Rutgers University in 2002, and a Juris
Doctor degree from Brooklyn Law School in 2011, graduating magna cum laude. During law school, Mr.
Saltzman served as an editor on the Brooklyn Law Review, where he published a note, and interned for the
Honorable Victor Marrero in the United States District Court for the Southern District of New York.

Mr. Saltzman is a member of the New York Bar, the United States District Court for the Southern District of
New York, and the United States Court of Appeals for the Third Circuit.




             A D A M WA R D E N
              Adam Warden is involved in all of Saxena White’s practice areas, including shareholder derivative
              actions, securities fraud litigation, and merger and acquisition litigation. During his tenure at
              Saxena White, Mr. Warden has been a member of the teams securing significant recoveries,
including Cumming v. Edens (derivative settlement of $53 million for claims challenging acquisition by
senior living operator New Senior Investment Group, Inc., representing more than 10% of the company’s
market capitalization), In re Wells Fargo & Company Shareholder Litigation (derivative settlement valued


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at $320 million, including $240 million in cash and corporate governance reforms), In re Jefferies Group,
Inc. Shareholders Litigation (class action settlement of $70 million, one of the largest settlements in the
history of the Delaware Court of Chancery), and In re Parametric Sound Corporation Shareholders’ Litigation
($9.65 million settlement, the second largest post-merger class action settlement in Nevada state history).
Mr. Warden is currently part of the litigation teams prosecuting securities fraud class actions against Credit
Suisse Group AG, Health Insurance Innovations, Inc. n/k/a Benefytt Technologies, and AmTrust Financial
Services, Inc.

Mr. Warden has been recognized as a Super Lawyer “Rising Star” in 2018, a South Florida Legal Guide’s
“Up and Comer” from 2018-2020, and a Palm Beach Illustrated “Top Lawyer” in 2020. Mr. Warden is also a
member of Saxena White’s Diversity and Social Responsibility Committee.

 Mr. Warden earned his Bachelor of Arts degree from Emory University in 2001 with a double major in
Political Science and Psychology. He received his Juris Doctor from the University of Miami School of Law
in 2004. During law school, Mr. Warden served as the Articles Editor of the University of Miami International
and Comparative Law Review.

Mr. Warden is a member of the Florida Bar and the District of Columbia Bar. He is admitted to the United
States District Courts for the Southern, Middle, and Northern Districts of Florida.




              K AT H R Y N W E I D N E R
              Kathryn Weidner has extensive experience in prosecuting securities class actions. Ms. Weidner
              has obtained substantial monetary recoveries including one of the largest settlements in 2018,
              In re Wilmington Trust Corporation Securities Litigation ($210 million). She has also prosecuted
numerous other class actions that resulted in significant recoveries for investors, such as In re HD Supply
Holdings, Inc. ($50 million, and one of the largest securities class action settlements ever achieved in the U.S.
District Court for the Northern District of Georgia), In re Rayonier Securities Litigation ($73 million), and In
re Tower Group International, Ltd. Securities Litigation ($20.5 million).

Ms. Weidner is very involved in the community and participates in organizations such as the League of
Women Voters and the Women’s Foundation of Florida and is also a member of numerous professional
organizations such as FAWL, NAWL, and NAPPA. Ms. Weidner is a regular contributor at conferences,
publications, CLE courses, and is the Chair of Saxena White’s Diversity and Social Responsibility Committee.
In addition, Ms. Weidner has been recognized as a Super Lawyer “Rising Star” for 2017 through 2019, and as
a South Florida Legal Guide “Up and Comer” for 2018 and 2019.

Prior to joining Saxena White, Ms. Weidner developed valuable litigation skills as a Certified Legal Intern for
the Department of Homeland Security. Ms. Weidner earned a Bachelor of Business Administration from the
University of Miami in 2003, with a major in Political Science. During college, she studied abroad at Oxford
University, as part of an Honors program for law and politics. Ms. Weidner received her Juris Doctor from
Nova Southeastern University in 2006, where she graduated cum laude with a concentration in International
Law. While at Nova, her outstanding course work regularly earned Dean’s List and Provost Honor Roll,
and she was honored with CALI Book Awards for Secured Transactions and Business Planning Law. Upon
graduation, Ms. Weidner was the recipient of the Larry Kalevitch Scholarship Award for exhibiting the most
promise in Business and Bankruptcy law.

Ms. Weidner is a member of the Florida Bar, and the United States District Courts for the Southern and
Northern Districts of Florida.

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 PROFESSIONALS




             SHERRIL CHEEVERS
             Client Services Specialist
             Ms. Cheevers is a Client Services Specialist at Saxena White. She is responsible for client
             outreach and business development among institutional investors. Ms. Cheevers attends
industry conferences and organizes events and opportunities to give back to the community.

Prior to joining Saxena White, Ms. Cheevers worked as a sales and community liaison in multiple markets.
Ms. Cheevers earned her Bachelor of Science from the University of Tampa.




             MARC GROBLER
             Manager of Case Analysis
              Marc Grobler plays a key role in new case development including performing in-depth
              investigations into potential securities fraud class actions, derivative, and other corporate
governance related actions. By using an array of financial and legal industry research tools, Mr. Grobler
analyzes information that helps support the theories behind our litigation efforts. He is also responsible for
protecting the financial interests of our clients by managing the Firm’s portfolio monitoring services and
performing complex loss and damage calculations.

Prior to joining the Firm, he served as the Senior Business Analyst in the New York office of a leading
securities class action law firm and has worked within the securities litigation industry for over 15 years.

Mr. Grobler graduated cum laude from Tulane University’s A.B. Freeman School of Business in 1997, with
a concentration in Accounting. With over 20 years of overall professional financial experience, he started
his career in New York at PricewaterhouseCoopers performing audits within the Financial Services Group.
Prior to entering the securities litigation industry, he worked within the asset management group at
Goldman Sachs where he was responsible for the financial reporting of a group of billion dollar fund-of-fund
investments. Mr. Grobler also previously worked at UBS Warburg as a Financial Analyst in the investment
banking division that focused on financial institutions such as banks, asset managers, insurance and start-up
financial technology companies.




             CHUCK JEROLOMAN
             Senior Client Services Specialist
              Chuck Jeroloman, Senior Client Services Specialist, has been with the Firm since 2010. Mr.
              Jeroloman focuses on public pension clients to provide relevant educational materials, and
personalized communication and service. Mr. Jeroloman is a frequent participant and speaker at state and
national investor conferences, including the Georgia Public Pension Trustee Association, the Florida Public
Pension Trustee Association, the National Conference on Public Employee Retirement Systems, and many
more. He currently serves on the Florida Public Pension Trustees Association’s Advisory Board.




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Prior to joining Saxena White, Mr. Jeroloman worked in law enforcement for 28 years. He was at the Delray
Beach Police Department for 23 years, and served as a homicide/robbery detective, street level narcotics
investigator, field training officer, and a member of the S.W.A.T. and Terrorists Task Force. He was a Delray
Beach Police and Fire Pension Board Trustee for 14 years, five of which he served as Chairman, and was also
a member of the Delray Beach Fire and Police VEBA Board. Mr. Jeroloman also spent five years as a Deputy
Sheriff with the Rockland County Sheriff’s Department in New York. During that time, he was a member of
the Joint Terrorists Task Force with the FBI, NYPD, Rockland County Sheriff’s Department. During his tenure
in law enforcement, Mr. Jeroloman served for 23 years as Union Representative for the Police Benevolent
Association (PBA) and Fraternal Order of Police (FOP) as Union Treasurer for PBA in N.Y from 1982-87,
then for Delray Beach FOP 1988-94, and last with Delray Beach PBA from 1994-2006 with 2001-2006 as
President.

Mr. Jeroloman earned his Associate Degree in Criminal Justice from Pasco-Hernando Community College.
After college, Mr. Jeroloman was very active in the baseball community. He was an associate scout with
the Anaheim Angels and Texas Rangers, and volunteered as a youth baseball coach through high school
levels. Mr. Jeroloman also served as a director vice president for the Okeeheelee Athletic Association, and
was Founding Chairman to Wellington High Baseball Booster Association and Palm Beach Central Baseball
Booster Association.




              SAM JONES
              Financial Analyst
              Sam Jones is a Financial Analyst with Saxena White’s California office. Prior to joining Saxena
              White, Mr. Jones worked for over ten years as a financial analyst at a leading securities litigation
law firm where he specialized in developing techniques for data modeling and visualization. He worked on
numerous landmark securities cases including In re Bank of America Securities Litigation ($2.425 billion
recovery); In re Lehman Brothers Equity/Debt Securities Litigation ($735 million recovery); In re Wachovia
Corp. Securities Litigation ($627 million recovery); and Merrill Lynch Mortgage Pass-Through Litigation ($315
million recovery).

In the fallout of the housing and credit crisis, Sam pioneered techniques in data management and analysis
for the firm’s then-developing RMBS and structured finance practice. He has worked on numerous individual
and class action RMBS cases against most of the major Wall Street banks.

Sam graduated from Vassar College in 1996, where he studied anthropology with a focus on economics.
After graduation he worked extensively as a field archaeologist throughout the U.S. and in Israel before
transitioning to a career in securities litigation and financial analysis.




              S T E FA N I E L E V E R E T T E
              Manager of Client Services
              Stefanie Leverette is Saxena White’s Manager of Client Services. In this role, she manages
              the Firm’s client outreach and developmental programs and oversees the Firm’s portfolio
monitoring program. Since joining Saxena White in 2008, Ms. Leverette has coordinated the Firm’s presence
at industry conferences attended by representatives of various institutional clients throughout the United



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States. In addition, Ms. Leverette is responsible for the timely dissemination of all reports, notifications
and all new cases and class action settlements that may have an impact to an investment portfolio.
Ms. Leverette’s main role is acting as the liaison between institutional clients and the Firm.

Ms. Leverette is a member of the Firm’s Diversity and Social Responsibility Committee and a member of
the Women’s Initiative Subcommittee. She is also a member of the Firm’s Case Starting Team, providing
institutional clients with important information regarding potential litigation.

Ms. Leverette earned her undergraduate degree in Business Administration with a focus on Management from
the University of Central Florida, and her Master’s in Business Administration with a focus on International
Business at Florida Atlantic University.




             JEROME PONTRELLI
             Chief of Investigations
            With over two decades of law enforcement experience, including 12 years with the Federal
            Bureau of Investigation, Jerome Pontrelli serves as Saxena White’s Chief of Investigations.
He oversees all of the Firm’s efforts to detect, investigate, and prosecute securities cases. Prior to joining
Saxena White, Mr. Pontrellli was Director of Investigations at Labaton Sucharow LLP, where his cases resulted
in monetary relief for harmed investors in excess of $4 billion. He was also part of the firm’s initial SEC
Whistleblower Program.

Over the years, in the FBI and in private practice, Mr. Pontrelli has led over one hundred investigations of
possible securities violations. Throughout his award-winning career, he has developed extensive experience
in securities-related matters. Mr. Pontrelli began his career with the FBI in Covert Special Operations, and
was later assigned to the FBI/NYPD Joint Bank Robbery Task Force. Following the September 11th attacks,
Mr. Pontrelli was assigned to the Joint Terrorism Task Force. He later transferred to the White Collar Crime
Heath Care Fraud Unit. Mr. Pontrelli has an extensive network of high-level relationships throughout the state
and federal law enforcement communities.

Mr. Pontrelli received a Bachelor of Arts degree from St. Thomas Aquinas College and a Master of Arts
degree from Seton Hall University. He graduated from the FBI Academy in 1996.




             RIAN WROBLEWSKI
             Head of Investigative Intelligence
               With over eighteen years of intelligence gathering experience, Rian Wroblewski serves as
               Saxena White’s Head of Investigative Intelligence. He oversees all of the Firm’s efforts to
generate proprietary sources of intelligence using advanced technological tools, systems, and methods.
Prior to joining Saxena White, Mr. Wroblewski was Senior Manager of Investigative Intelligence at Labaton
Sucharow LLP, where his cases resulted in monetary relief for harmed investors in excess of $4 billion. He
was also part of the firm’s initial SEC Whistleblower Program.

Over the years, Mr. Wroblewski has provided expert commentary to The Washington Post, Investor’s Business
Daily, Canadian Broadcasting Corporation, and other news outlets. Mr. Wroblewski has provided consulting
to database providers, eDiscovery vendors, corporate boards, and government entities throughout the



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world. He has extensive pro bono experience assisting political asylum seekers and targets of honor killings,
working alongside the FBI and Department of State. Mr. Wroblewski is an active member of the FBI’s InfraGard
Program. He has an extensive network of high-level relationships within the global intelligence community.

Mr. Wroblewski received a Bachelor of Science degree from John Jay College of Criminal Justice.




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 S TA F F AT TO R N E YS




             DENISE BRYAN
             With over 20 years of overall professional experience, Ms. Bryan began her legal career in
             New York at Prudential Securities. While at Prudential Securities, she reviewed claims alleging
             fraudulent practices and determined settlements in accordance with the guidelines of the
Limited Partnership Settlement Fund as established by the Securities and Exchange Commission.

Ms. Bryan gained experience in the insurance industry as an attorney in the Environmental Claims Department
of American International Group, and as an underwriter focusing on Professional Liability coverage for
financial institutions including banks, insurance companies, and broker dealers. She was an Assistant Vice
President at Marsh Inc. in New York and Chicago, where she was an insurance broker focused on providing
Professional Liability coverage to Fortune 500 companies.

Ms. Bryan has been working in the area of e-discovery since 2007. She supervised teams of attorneys
conducting large scale document reviews at a consulting group specializing in providing litigation support
services to national and international companies. Ms. Bryan is a member of the New York Bar.




             REBECCA NILSEN
             Ms. Nilsen is experienced in e-discovery and litigation support services for class actions and
             other complex litigation. She has over 13 years of litigation experience in matters related to
             Federal Trade Commission, U.S Securities and Exchange Commission, Fair Debt Collection
Practices and Consumer Financial Protection Bureau.

Ms. Nilsen graduated cum laude from Florida Atlantic University where she received a Bachelor of Arts
with a major in Criminal Justice. In 2002, she received her Juris Doctorate degree from Nova Southeastern
University, Shepard Broad College of Law. While attending law school, Ms. Nilsen interned in the Pro Bono
Honor Program earning the Gold Award for 2001 – 2002. Ms. Nilsen is a member of the Florida Bar, and is
admitted to practice before the United States District Courts for the Southern and Northern Districts of
Florida.




             CHRISTINE SCIARRINO
              Christine Sciarrino has extensive experience in e-discovery as a project attorney for class
              action securities fraud litigation. Her legal practice has focused primarily on early resolution
              of matters, with an objective toward achieving optimum results for litigating parties through
superb pre-trial preparation and informed decision making. As an experienced practitioner for plaintiffs who
have been wronged by financial institutions and other entities, Ms. Sciarrino has most recently dedicated her
expertise exclusively to this area.

Ms. Sciarrino graduated from Florida Atlantic University in 1988, where she received a Bachelor of Arts
degree with a major in History. In 1992, she received her Juris Doctor from the St. Thomas University School
of Law. Ms. Sciarrino also earned a Master of Fine Arts in Creative Writing at Florida Atlantic University in
2004. Ms. Sciarrino is a member of the Florida Bar.


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HARRIET ATSEGBUA
Ms. Atsegbua received her Juris Doctor from the Southern Methodist University Dedman School of Law,
Master of Arts from the University of Denver, Josef Korbel School of International Studies, and her Bachelor
of Science from Emory University. Ms. Atsegbua is a member of the New York and Texas Bars.


AT H M A B I R J U
Mr. Birju received his Juris Doctor from Western Michigan University Thomas M. Cooley Law School and his
Bachelor of Science from Nova Southeastern University Farquhar College of Arts and Sciences. Mr. Birju is a
member of the Florida Bar.


VA L E R I E K A N N E R B O N K
Ms. Bonk received her Juris Doctor from Catholic University of America Columbus School of Law and her
Bachelor of Arts from University of Maryland. Ms. Bonk is a member of the Maryland Bar.


PA U L B U R N S
Mr. Burns received his Juris Doctor from St. Thomas University School of Law and his Bachelor of Science
from University of Central Florida. Mr. Burns is member of the Florida Bar.


C H R I S T O P H E R D O N N E L LY
Mr. Donnelly received his Juris Doctor from University of Pennsylvania Law School, his LL.M from New
York University and his Bachelor of Arts from Rutgers University. Mr. Donnelly is a member of the Florida,
California, New Jersey, and New York Bars, and he is admitted to practice before the United States District
Court for the Southern District of Florida.


MICHELE FASSBERG
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